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   4

   5   Attorney for Defendant:
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   8                          IN THE UNITED STATES DISTRICT COURT
   9                               SOUTHERN DISTRICT OF CALIFORNIA
  10

  11   CHRIS KOHLER,                                  )   Case No. 10 CV 0364 WQH AJB
                                                      )
  12                  Plaintiff,                      )   Complaint Filed:        February 16, 2010
                                                      )
  13    v.                                            )   DEFENDANT PFS, LLC dba McDONALD’S
                                                      )   # 13410’S NOTICE OF MOTION AND
  14
       PFS, LLC dba McDONALD’S # 13410;               )   MOTION FOR ISSUANCE OF AN ORDER
       McDONALD’S CORP.,                              )   (1) DECLARING A PARTIAL OR
  15                                                  )   COMPLETE STAY AS TO DISCOVERY
                                                      )   RELATED IN ANY WAY TO INJUNCTIVE
  16                  Defendants.                     )   RELIEF AVAILABLE TO PLAINTIFF
                                                      )   ARISING FROM VIOLATION OF THE
  17                                                  )   AMERICANS WITH DISABILITIES ACT;
                                                      )   AND (2) DECLARING A COMPLETE STAY
  18                                                  )   AS TO MOTIONS RELATED IN ANY WAY
                                                      )   TO INJUNCTIVE RELIEF AVAILABLE TO
  19                                                  )   PLAINTIFF ARISING FROM VIOLATION
                                                      )   OF THE AMERICANS WITH
  20                                                  )   DISABILITIES ACT
                                                      )
  21                                                  )   Judge: Hon. William Q. Hayes
                                                      )   Courtroom: 4
  22                                                  )   Time: 11:00 a.m.
                                                      )   Date: Oct. 18, 2010
  23                                                  )
                                                      )   NO ORAL ARGUMENT UNLESS
                                                      )   REQUESTED BY THE COURT
  24
                                                      )
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  26
       TO ALL PARTIES and THEIR ATTORNEYS OF RECORD:
  27
              PLEASE TAKE NOTICE that at 11:00 a.m. on October 18, 2010, in Courtroom 4 of the
  28

        Def. PFS’ Not. of Motion and Motion (1) For Partial or Complete Stay of Discovery; and (2) For Stay of
         Motions Related to Plaintiff’s Purported Entitlement to Injunctive Relief Under the ADA (10-CV-0364-
                                                        WQH-AJB)
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   1   United States District Court, Southern District of California, the Hon. Judge William Q Hayes
   2   presiding, Defendant PFS, LLC dba McDonald's #13410 ("PFS") will and hereby does move
   3   this Court for issuance of an Order (1) issuing a partial or complete stay of any and all discovery
   4   related in any way to injunctive relief Plaintiff Kohler may be entitled to arising from
   5   Defendants' purported violation of the Americans With Disabilities Act; and (2) issuing a
   6   complete stay of any and all motions related in any way to injunctive relief Plaintiff Kohler may
   7   be entitled to arising from Defendants' purported violation of the Americans with Disabilities
   8   Act..
   9           This motion is and will be based upon the following legal contentions.
  10           This is a disability discrimination lawsuit filed by Plaintiff Chris Kohler against
  11   Defendant PFS and PFS' Co-defendant, McDonald's Corporation. Plaintiff Kohler contends that
  12   PFS' McDonald's restaurant located on Balboa Drive in San Diego contains barriers that prevent
  13   physically disabled individuals such as Plaintiff Kohler from fully utilizing and enjoying the
  14   goods and services of the restaurant, in violation of the Americans With Disabilities Act

  15   ("ADA") and several California anti-discrimination statutes applicable to public

  16   accommodations. Subject matter jurisdiction has been conferred on this Court by the "federal

  17   question" presented by Plaintiff Kohler's assertion of one count arising from federal law, that is,

  18   his ADA claim.

  19           Monetary damages are not available to Plaintiff Kohler under the ADA. Instead, the only

  20   relief available under the ADA is injunctive relief. PFS has already begun remediation and

  21   remodeling work at the subject McDonald's restaurant that, by about April 1, 2011, almost

  22   assuredly will result in the restaurant being fully accessible to the disabled and fully compliant

  23   with the anti-disability discrimination provisions of the ADA. When that occurs, there will be

  24   no need for any injunctive relief, and Plaintiff Kohler's ADA claim will become moot. At that

  25   time, this Court may choose, if it wishes, to refuse to continue exercising pendent jurisdiction

  26   over Plaintiff Kohler's remaining state law claims, and may order this lawsuit dismissed.

  27           Because of the likelihood that Plaintiff Kohler's ADA claim will be moot on or about

  28   April 1, 2011, it makes no sense to allow discovery specific to the issue of injunctive relief

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   1   under the ADA to go forward. Therefore, this Court should issue an order partially staying any
   2   and all discovery related in any way to injunctive relief available to Plaintiff Kohler for any
   3   purported violation of the ADA.
   4          In the alternative, if this Court might entertain the idea of dismissing this lawsuit (and
   5   refusing to exercise pendent jurisdiction over Plaintiff Kohler's remaining state law claims) once
   6   PFS' remedial efforts are completed and no barriers to the physically disabled exist at the subject
   7   McDonald's restaurant on or about April 1, 2011, this Court can and should issue an order
   8   completely staying all discovery in this lawsuit until that date.
   9           Finally, PFS anticipates that Plaintiff Kohler may file a motion for summary
  10   judgment/adjudication as to the ADA claim in the near future in an effort to obtain a permanent
  11   injunction against PFS. Given the strong likelihood that by April 1, 2011 remediation at the
  12   subject restaurant will be complete, and the need for any such motion and/or an injunctive order
  13   requiring PFS to ensure that its restaurant is barrier-free will be a moot issue, this Court can and
  14   should issue a stay barring any and all dispositive motions by Plaintiff Kohler prior to April 1,

  15   2011 on the issue of his entitlement to injunctive relief under the ADA.

  16          This motion is and will be based upon this notice of motion and motion, PFS'

  17   memorandum of points and authorities, the sworn declaration of William a Adams, the sworn

  18   declaration of Paul Schmid, PFS' notice of lodgment of exhibits and all exhibits attached

  19   thereto, PFS' reply brief (to be filed at a later date), and any and all additional evidence and

  20   argument which this Court may entertain at the time of hearing on this matter.

  21

  22   Date: September 10, 2010                       NORTON, MOORE, & ADAMS, LLP

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  24
                                                  By: s/William A. Adams________
  25                                                 William A. Adams
                                                     Attorneys for Defendant
  26                                                 PFS, LLC dba McDonald’s #13410
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        Def. PFS’ Not. of Motion and Motion (1) For Partial or Complete Stay of Discovery; and (2) For Stay of
         Motions Related to Plaintiff’s Purported Entitlement to Injunctive Relief Under the ADA (10-CV-0364-
                                                        WQH-AJB)
                                                         -3
